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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-CV-1300-MSK-MJW

  JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

        Plaintiffs,

  vs.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

        Defendant.


   RESPONSE OF DOUGLAS COUNTY SHERIFF DAVID WEAVER
           TO DEFENDANT’S INTERROGATORIES

        Sheriff Weaver, by and through his undersigned counsel, and pursuant to
  Fed. R. Civ. P. 33(b), hereby responds to Defendant’s Interrogatories as follows:

                              GENERAL OBJECTIONS

         Where no objection is interposed, the responses below reflect all responsive
 information and documents identified by Sheriff Weaver before the date of the
 responses, pursuant to a reasonable and diligent search and investigation conducted
 in connection with this discovery. To the extent the discovery purports to require
 more, Sheriff objects on the grounds that (a) the discovery seeks to compel him to
 conduct a search beyond the scope of permissible discovery contemplated by the
 Federal Rules of Civil Procedure, and (b) compliance with the discovery would be
 oppressive, and would impose an undue burden or expense.

        Sheriff Weaver’s discovery responses are also made subject to the ongoing
  discovery and trial preparation in this case. These discovery responses are made
  based on the best information, including facts available as of the date of such
  responses. Sheriff Weaver reserves the right to amend, supplement, or change
  these discovery responses as permitted or required under the Federal Rules of Civil
  Procedure based on additional information obtained through the discovery and trial
  preparation process.

        Sheriff Weaver makes each individual response subject to and without
  waiving the conditions and objections that are stated in the sections of these
  responses entitled “General Objections” and “Objections to Instructions and

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  Definitions” and that are specifically referred to in that particular individual
  response.

         Sheriff Weaver makes each individual response without adopting in any way
  (unless otherwise stated) the terms and phrases that Defendant purports to define
  in his discovery. When Sheriff Weaver uses words or phrases that Defendant has
  purported to define, those words and pshrases should be given either (a) the
  meaning set out by Sheriff Weaver in his responses, or in its objections to the
  specific definitions, or (b) the ordinary meaning of such words or phrases.


              OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

         Defendant has purported to define several terms used in his discovery. In his
  responses, Sheriff Weaver gives ordinary words and phrases their ordinary
  meaning. By making this written response, Sheriff Weaver does not (a) adopt any
  purported definition, (b) waive or limit its objections to Defendant’s purported
  definitions, or (c) concede the applicability of any such definition to any term or
  phrase that might be contained in written responses. Wherever these words are
  used in Defendant’s interrogatories, these objections and these clarifications are
  incorporated, unless otherwise specified in the request.

         Defendant purported to define “you” and “your” to include “counsel for
  Plaintiffs.” Sheriff Weaver objects to this definition to the extent that it purports to
  require the disclosure of information, communications, or documents protected from
  disclosure by the attorney-client privilege, work product immunity, or any other
  privilege or immunity.

  RESPONSES

  1. With respect to each and every home invasion or “robbery in the home” to which
  your department has responded since January 1, 2004, please:

     a. describe the circumstances surrounding the home invasion/robbery in the
        home, including: the date and location (by city and county), the number of
        perpetrators involved, whether or not the perpetrator(s) carried firearms, and
        whether or not the perpetrator(s), victim(s), or others fired any shots;

  Response:

  We object to the questions in Interrogatory 1 and to the related request for
  production of documents. The Douglas County Sheriff’s Office has records for 3,419
  burglaries during the relevant time period. We have no means of identifying which
  of those involved firearms use, by suspects or victims, without reading every

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  incident report page by page. This would be unduly burdensome, and significantly
  interfere with the Office’s law enforcement duties.

  Based on discussions with commissioned staff, one incident was recalled:

  2013-00073838. August 9, 2013. About 2118 hours, dispatch aired a kidnapping in
  progress at (Open Investigation). The victim was taken out of his house at gun
  point and forced to drive to an unknown location off (Open Investigation) Road. The
  victim was then released and drove back home where he called the Sheriff’s Office.

  He had been awakened to a loud bang followed by three to four men all dressed in
  black with black bandanas covering their faces wearing latex gloves standing in his
  bedroom. Two men had hand guns and one had a rifle. They started yelling at him
  as they were looking for someone and where was the money? The gun men ordered
  him to put on his clothes then took him and son to his car parked in the driveway.
  He was ordered to drive the car as one gunman sat in the front passenger seat and
  one sat behind him. At one point the two gun men exited his car and got into the
  SUV and the Mercedes and sped off. He went home and called the Sheriff’s office.



        b. if a firearm was fired or otherwise used or displayed by any person,
        identify who used, displayed, or discharged the firearm, the manner in which
        they did so, whether the firearm used a magazine, the capacity of any
        magazines from which bullets were fired, the number of rounds fired by each
        individual, and whether any person was shot;

  Response: Sheriff Weaver objects to this interrogatory on the ground that the
  phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
  without waiving this objection:

  As described and answered above.


  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response:

  None known.

  2. With respect to each and every occasion when you, your predecessor(s) in office,
  or a sheriff’s deputy has discharged a firearm in the course of duty since January 1,
  2004 (not including firearm practice or training), please:

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  a. describe the circumstances surrounding the firearm discharge, including the
  date, location (by city and county), the reason for the firearm discharge, and
  whether you, your predecessor(s), or deputy were fired upon;

  Response: Sheriff Weaver objects to this interrogatory on the ground that it is
  overbroad and not reasonably calculated to lead to the discovery of admissible
  evidence. Subject to and without waiving this objection,

  CONFIDENTIAL:
   Type of                    Incident                                   Shots
   person    Name             date       Gun type             Caliber    fired     Results/notes              Location
             Deputy Greg                                                                                      CPN 7284 Lagae Road,
   Officer   Black            1/6/2004   Pistol                .40         2       1-missed and 1 hit         King Soopers
             Former
             Deputy
             Eric Ostrowski
                                                                        multiple   Suspect died later in
   Suspect   White                       Pistol                .45      rounds     custody of a blood clot
   Suspect   Donald Price
                                                                                   Drug investigation.
                                                                                   Deputy shot at driver
             Deputy Tom                                                            of a car that was trying
   Officer   Bruton           2005       Glock model 36        .45         1       to run him over.           Roxborough
             Kevin
   Suspect   McKnight
                                                                                   (Serve a search warrant
                                                                                   for homicide) Multi-
                                                                                   Agency. 32 total
             SWAT (Super                                                           rounds-28 hit the          6230 Pine Lane (Super
   Officer   8)               8/4/2007                                    32       target.                    8), Parker
                                                                                   22 other rounds
                                                                                   between several
             Deputy                                                                officrers were fired
             Goolsby -                                                             outside of the 2
             negotiator                  Pistol                .45         3       negotiators.
             Deputy Garza
             - negotiator                Pistol                .40         7
             Deputy
             Pfannenstiel                Rifle                 .223
             Officer Tarr -
             PPD
             Officer
             Skinner - PPD
             Ronald                      Ruger GP-100          .357        0
   Suspect   Talmedge                    Sig Sauer P229         .40        1       Did not hit any Officers
             Deputy Kevin                                                                                     Castle Rock - Caprice
   Officer   Nichols          2/5/2010   Pistol                .45         3                                  Street
             Deputy Jason
             Jarrett
                                                                                   Bullet fragment hit
   Suspect   Reese Slade                 Pistol                .22         0       Slade in the head
                                                                                   26 rounds fired total by
                                                                                   Deputy & Suspect.
                                                                                   Deputy was hit with 1
                                                                                   bullet right side tricep
                                                                                   Deputy fired 13 rounds
             Deputy Mike                                                           total. Fired 9 and then    Hwy 83 & Bayou Gulch,
   Officer   Garcia           8/8/2010   Colt 1911             .45        13       reloaded.                  Parker


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             Suspect                                          Suspect was hit by 2
             Richard                                          rounds. 1 in the chest,
   Suspect   Anderson         Sig Sauer P226       9mm   13   1 in the throat




  Explanation of document production:


  b. if a firearm was fired by any person involved in the event, identify who fired the
  firearm, whether the firearm used a magazine, the capacity of any magazines from
  which bullets were fired, the number of rounds fired by each individual, and
  whether any person was shot;

  Response: Sheriff Weaver objects to this interrogatory on the ground that the
  word “event” is vague. Subject to and without waiving this objection:

  The answers are provided in the chart above.


  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response:

  The answers are provided in the chart above.


  3. With respect to the allegations of paragraph 102 of the First Amended Complaint
  (doc. #22), describe every instance since January 1, 1973 in which you or your
  predecessors in office requested the armed assistance of able-bodied adults (“posse
  comitatus”). In your response, state in detail the circumstances surrounding each
  such request, including:

  a. the reason for the request, the number of individuals who responded to the
  request, whether such individuals were law enforcement officers or were deputized
  for the purposes of participating, and whether these individuals were required by
  you or your predecessors to carry firearms in connection with their participation;

  Response:

  We were not able to gather any specific case reports regarding a posse.

  As told to me by Lt. Larry Noble of the Douglas County Sheriff’s Office and member
  since 1975: In 1975, we had a “reserve organization” and “Special Deputies” which
  were both reserves but different groups. The “Special Deputies” would sometimes

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  be called out in the middle of the night. They were used for backup on a call if
  needed. At the time we only had 1 deputy working the road (patrol) per shift. The
  reserves at the time were ranchers and most of them had horses. Douglas County
  Sheriff’s Office also had a “posse”, which was an organized group mostly used for
  events. So at the time there were three groups of reserve type deputies.
  One recollection was that the posse was called out once for a search and rescue in
  the mountains because the posse were also ranchers who had horses and could
  search by horseback.

  During Sheriff McKinster’s (1972-1982) third term, Sheriff Miller at Arapahoe
  Sheriff’s Office did away with the reserves. Sheriff McKinster of Douglas County
  created another group of reserves who drove four wheel drive vehicles. These were
  the reserve deputies from Arapahoe County Sheriff’s Office that still wanted to
  serve. These reserve deputies used their own vehicle and fuel. They mostly
  patrolled the river area.

  All of these reserve type deputies provided their own vehicle, fuel, firearm,
  ammunition. The firearm most used was either a .38 or .357,

  When Sheriff Zotos (1983-2002) became Sheriff the posse was dissolved. The special
  deputies group and the four wheel drive group all dissolved. Sheriff Zotos created
  just one group which was called “Reserve Deputies” that is still in place today.
  The reserve deputies are commissioned.


  b. whether any individual who responded to the request to assist law enforcement
  or any individual(s) they encountered while assisting law enforcement discharged a
  firearm. If shots were fired, state the circumstances surrounding the discharge of
  the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
  magazine, the capacity of any magazines from which bullets were fired, the number
  of rounds fired, and whether any person was shot;

  Response:

  We do not have records or knowledge of such incidents.

  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  We do not have records or knowledge of such incidents.


  Response:



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  4. With respect to the allegations of paragraph 103 of the First Amended Complaint
  (doc. #22), describe every instance since January 1, 2004 when you or your
  predecessors appointed deputies who were not certified peace officers. In your
  response, state in detail:

  a. the date and duration of each individual’s appointment, the circumstances
  surrounding the need for the “non-certified” deputy, whether the non-certified
  deputy was required to carry a firearm, whether the “non-certified” deputy carried a
  firearm he/she supplied or a firearm supplied by the sheriff’s office, and whether
  any non-certified deputy ever discharged a firearm;

  Response:

  Since 2004 all Douglas County Sheriff’s Office Reserve Deputies are required to be
  Reserve P.O.S.T. Certified or fully P.O.S.T. Certified.

  All of our Reserve Deputies are required to carry the same equipment. All Reserve
  Deputies are required by Colorado State Statute to be certified in firearms
  proficiency with the same frequency and subject to the same requirements as a full-
  time deputies in the Sheriff’s Office.

  We currently have 7 Reserve Deputies. There is no end date to their appointment
  to be a Reserve with Douglas County.


  b. the circumstances surrounding the discharge of the non-certified deputy’s
  firearm, including: the date and location of the event, whether the non-certified
  deputy was fired upon, the number of rounds fired by the non-certified deputy, the
  number of rounds fired by others involved in the event, the capacities of magazines
  from which bullets were fired, and whether any individual was shot;

  Response:

  None.

  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response:

  None.

  5. Describe every occasion since January 1, 2004 when you, your predecessor
  sheriff(s), a sheriff’s deputy, or a family member living with these individuals has

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  discharged or otherwise used or displayed a firearm in defense of self, home, or
  other family members. In your response, describe the circumstances surrounding
  each event, including: the events leading to the use, display, or discharge of the
  firearm, the number of rounds fired by you or others, and the capacity of magazines
  used by firearms that were discharged. If any person was shot, identify the
  individuals who inflicted and suffered any gunshot injuries and state whether any
  individual was killed.

  Response: Sheriff Weaver objects to this interrogatory on the ground that the
  phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
  without waiving this objection:

  We have no records or knowledge of any display or use of a firearm by a sheriff,
  deputy, or family member in defense of self, home, or other family members


  6. With respect to the allegations of paragraph 105 of the First Amended Complaint
  (doc. #22), describe every instance since January 1, 2004 in which you or your
  predecessors in office requested armed citizen assistance for emergencies and
  natural disasters. In your response, state in detail the circumstances surrounding
  each such request, including:

  a. the reason for the request, the number of individuals who responded to the
  request, and whether such individuals were law enforcement officers or were
  deputized for the purposes of participating, and whether these individuals were
  required by you or your predecessors to carry firearms;

  Response:

  We have not specifically requested armed citizen assistance for emergencies or
  natural disasters.

  The Colorado Mounted Rangers provided road block assistance to the Douglas and
  Jefferson County Sheriff’s Offices on the forest service roads during the Lime Gulch
  Fire. They are strictly a volunteer organization. They are not directly under the
  Douglas County Sheriff’s Office.

  b. whether any individual who responded to the request to assist law enforcement
  or any individual(s) they encountered while assisting law enforcement discharged a
  firearm. If shots were fired, state the circumstances surrounding the discharge of
  the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
  magazine, the capacity of any magazines from which bullets were fired, the number
  of rounds fired, and whether any person was shot;



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  Response:

  None.

  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response:

  None.

  AS TO OBJECTIONS:
                                          s/David B. Kopel
                                          INDEPENDENCE INSTITUTE
                                          727 E. 16th Avenue
                                          Denver, CO 80203
                                          Phone: (303) 279-6536
                                          Fax: (303) 279-4176
                                          david@i2i.org

                                          ATTORNEY FOR SHERIFFS AND DAVID
                                          STRUMILLO

  AS TO RESPONSES:
        Pursuant to 28 U.S.C. § 1746, I, David Weaver, do hereby verify under
  penalty of perjury that the foregoing responses to Defendant’s Interrogatories are
  true and correct to the best of my information and belief.

          Dated this 21st day of August, 2013.

                                          ______             _____________
                                          s/Sheriff David Weaver




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